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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                         Criminal No. 20-197 (DWF/TNL)

 UNITED STATES OF AMERICA,

                      Plaintiff,

         v.                                NOTICE OF APPEARANCE

 ESTEBAN RAMOS, JR.,

                      Defendant.


        Please add the following Assistant United States Attorney to the above-captioned

case:

        Add AUSA:

        Amber M. Brennan

Dated: December 13, 2021                        Respectfully submitted,

                                                CHARLES J. KOVATS, JR.
                                                Acting United States Attorney

                                                s/Amber M. Brennan

                                                BY: AMBER M. BRENNAN
                                                Assistant U.S. Attorney
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